
DAUKSCH, Judge.
This is an appeal from an order of adjudication of delinquency and order of commitment in which appellant was found guilty of both grand theft and dealing in stolen property. Appellant raises two points on appeal. First, that section 812.025, Florida Statutes (1983), prevents the imposition of an adjudication of delinquency for both offenses where he is charged with both in the same information and both charges involve the same property. The evidence shows only one scheme or course of conduct involving the theft and sale of the stolen property so only one adjudication of delinquency is allowed. See Lennear v. State, 424 So.2d 151 (Fla. 5th DCA 1982); Kelly v. State, 397 So.2d 709 (Fla. 5th DCA 1981). Second, appellant contends that the evidence was insufficient to support the adjudication. We find the evidence to be sufficient.
*23Accordingly, the adjudication for the lesser offense of grand theft, second degree, is set aside and the adjudication for trafficking in stolen property is affirmed. See Ridley v. State, 407 So.2d 1000 (Fla. 5th DCA 1981).
It is so ordered.
ORFINGER and COWART, JJ., concur.
